                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                   3:04CR201

UNITED STATES OF AMERICA                         )
                                                 )
               v.                                )                  ORDER
                                                 )
VINTAGE PHARMACEUTICALS,                         )
INC., WILLIAM PROPST, SR.,                       )
WILLIAM PROPST, JR., and                         )
QUALITEST PHARMACEEUTICAL,                       )
INC.                                             )
                                                 )

       This matter is before the court upon its own motion for a continuance of this matter from

the October 2, 2006 term in the Charlotte Division.

       The court finds that the ends of justice served by taking such action outweigh the interest

of the public and the defendant to a speedy trial as set forth in 18 USC § 3161(h)(8)(A), (B).

       IT IS THEREFORE ORDERED that the above captioned case is continued to

October 16, 2006 at 10:00 a.m. as to all defendants.

       IT IS SO ORDERED.



                                                 Signed: March 7, 2006




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